Dear Auditor Montee:
This office received your letter of March 2, 2009, submitting a fiscal note and fiscal note summary prepared under Section 116.175, RSMo, for an initiative petition (version 2) submitted by Herman Kriegshauser regarding a proposed constitutional amendment related to Article X. The fiscal note summary that you submitted is as follows:
  The cost to state and local governmental entities is estimated to exceed $5 billion annually.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
                                                         Very truly yours, _____________ CHRIS KOSTER Attorney General *Page 1 